Case 22-05004   Doc 5-4   Filed 04/21/22   Entered 04/21/22 19:19:05   Page 1 of 8




                               TAB 4
Case 22-05004   Doc 5-4    Filed 04/21/22 Entered 04/21/22 19:19:05   Page 2 of 8
                          Micheal Zimmermann Confidential
                                      June 23, 2021

   NO. X06-UWY-CV-18-6046436S                    SUPERIOR COURT

   ERICA LAFFERTY, ET AL,                        COMPLEX LITIGATION DOCKET

   vs.                                           AT WATERBURY

   ALEX EMRIC JONES, ET AL,                      JUNE 23, 2021



   NO. X-06- UWY-CVlS-6046437-S                  SUPERIOR COURT

   WILLIAM SHERLACH,                             COMPLEX LITIGATION DOCKET

   vs.                                           AT WATERBURY

   ALEX EMRIC JONES, ET AL.                      JUNE 23, 2021



   NO. X06 - UWY - CV-18 - 6046438S              SUPERIOR COURT

   WILLIAM SHERLACH, ET AL.,                     COMPLEX LITIGATION DOCKET

   vs.                                           AT WATERBURY

   ALEX EMRIC JONES, ET AL.                      JUNE 23, 2021


                                     CONFIDENTIAL

                      ORAL AND VIDEOTAPED DEPOSITION OF

                                 MICHEAL ZIMMERMANN

                                    JUNE 23, 2021




         ORAL AND VIDEOTAPED DEPOSITION OF MICHEAL ZIMMERMANN,

   produced as a witness at the instance of the PLAINTIFF, and

   duly sworn, was taken in the above-styled and -numbered cause

   on JUNE 23, 2021, from 9:00 a . m. to 10:30 a . m., before Rosalind


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 Case 22-05004   Doc 5-4    Filed 04/21/22 Entered 04/21/22 19:19:05   Page 3 of 8
                           Micheal Zimmermann Confidential
                                       June 23, 2021

 1   Dennis, Notary in and for the State of Texas, reported by

 2   machine shorthand, appearing remotely from Dallas, Texas,

 3   pursuant to the Federal Rules of Civil Procedure and the

 4   provisions stated on the record or attached hereto.

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 Case 22-05004   Doc 5-4    Filed 04/21/22 Entered 04/21/22 19:19:05   Page 4 of 8
                           Micheal Zimmermann Confidential
                                       June 23, 2021

 1                                A P P E A R A N C E S

 2

 3   FOR THE PLAINTIFFS :

 4        CHRISTOPHER M. MATTEI, ESQ.
          MATTHEWS . BLUMENTHAL, ESQ.
 5        KOSKOFF KOSKOFF & BIEDER, PC
          350 Fairfield Avenue
 6        Bridgeport, Connecticut 06604
          Cmattei@koskoff.com
 7        mblumenthal@koskoff.com
          (203) 336-4421
 8

 9   FOR THE DEFENDANTS:

10        JAY MARSHALL WOLMAN, ESQ.
          RANDAZZA LEGAL GROUP
11        100 Pearl Street
          14th Floor
12        Hartford, Connecticut 06103
          jmw@randazza.com
13         (702) 420-2001

14
     ALSO PRESENT:
15        Joel Raguso - Videographer

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 Case 22-05004   Doc 5-4    Filed 04/21/22 Entered 04/21/22 19:19:05   Page 5 of 8
                           Micheal Zimmermann Confidential
                                       June 23, 2021

 1        Q.     And you are prepared today to testify as a corporate

 2   representative for Infowars, LLC on all the topics listed in

 3   this notice of deposition?

 4        A.     I am.

 5        Q.     Has Infowars, LLC produced documents in this case?

 6        A.     Not to my understanding.

 7        Q.     So is that a no?

 8        A.     That's a no.

 9        Q.     When was Infowars, LLC registered?

10        A.     Infowars, LLC was registered on November 15th, 2007.

11        Q.     Okay.      And what is the business purpose of

12   Infowars, LLC?

13        A.     Infowars, LLC has no business purpose.

14        Q.     Why was i t created?

15        A.     I do not know .

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 Case 22-05004   Doc 5-4    Filed 04/21/22 Entered 04/21/22 19:19:05   Page 6 of 8
                           Micheal Zimmermann Confidential
                                       June 23, 2021

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20        Q.     Who owns Infowars, LLC?

21        A.     Alex Jones is the owner of Infowars, LLC.

22        Q.     Is he the sole owner of Infowars, LLC?

23        A.     He is the sole owner and member of Infowars, LLC.

24        Q.     Does Infowars, LLC own any part of any other entity?

25        A.     It does not.


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 Case 22-05004   Doc 5-4    Filed 04/21/22 Entered 04/21/22 19:19:05   Page 7 of 8
                           Micheal Zimmermann Confidential
                                       June 23, 2021

 1   NO. X06-UWY-CV-18-6046436S                   SUPERIOR COURT

     ERICA LAFFERTY, ET AL,                       COMPLEX LITIGATION DOCKET

     vs.                                          AT WATERBURY

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     NO. X-06- UWY-CVlS-6046437-S                 SUPERIOR COURT

     WILLIAM SHERLACH,                            COMPLEX LITIGATION DOCKET

     vs.                                          AT WATERBURY

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     NO. X06 - UWY - CV- 18 - 6046438S            SUPERIOR COURT

     WILLIAM SHERLACH, ET AL.,                    COMPLEX LITIGATION DOCKET

     vs.                                          AT WATERBURY

     ALEX EMRIC JONES, ET AL.           JUNE 23, 2021
15                      REPORTER'S CERTIFICATION

16                      DEPOSITION OF MICHEAL ZIMMERMANN

17                                   JUNE 23, 2021

18

19         I, Rosalind Dennis, Notary in and for the State of Texas,

20   hereby certify to the following:

21         That the witness, MICHEAL ZIMMERMANN, was duly sworn by

22   the officer and that the transcript of the oral deposition is a

23   true record of the testimony given by the witness;

24         That the original deposition was delivered to

25   MR. BLUMENTHAL.


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 Case 22-05004   Doc 5-4    Filed 04/21/22 Entered 04/21/22 19:19:05   Page 8 of 8
                           Micheal Zimmermann Confidential
                                       June 23, 2021

 1        That the amount of time used by each party at the

 2   deposition is as follows:

 3   MR. BLUMENTHAL        ..... 00 HOUR(S) :5 1 MINUTE(S)
     MR. WOLMAN            ..... 00 HOUR(S) :025 MINUTE(S)
 4

 5        That pursuant to information given to the deposition

 6   officer at the time said testimony was taken, the following

 7   includes counsel for all parties of record:

 8   Mr. Blumenthal                            Attorney for the Plaintiff.

 9   Mr. Wolman                                Attorney for the Defendant.

10        I further certify that I am neither counsel for, related

11   to, nor employed by any of the parties or attorneys in the

12   action in which this proceeding was taken , and further that I

13   am not financially or otherwise interested in the outcome of

14   the action .

15        Certified to by me this 5th day of July, 2021.

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18                                    ROSALIND DENNIS
                                      Notary in and for the
19                                    State of Texas
                                      Notary: 129704774
20                                    My Commission Expires: 10/8/2022
                                      US LEGAL SUPPORT
21                                    8144 Walnut Hill Lane
                                      Suite 120
22                                    Dallas, Texas 75231
                                      214-741-6001
23                                    214-741-6821 (FAX)
                                      Firm Registration No. 343
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